Case 1:25-cv-00840-RCL Document 26 Filed 05/12/25 Page1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

OPEN TECHNOLOGY FUND,
Plaintiff,

V. Case No. 1:25-cv-840-RCL

KARI LAKE, in her official capacity, et al.,

Defendants.

ORDER
Upon consideration of the defendants’ Motion for an Extension of Time [ECF No. 25],
nunc pro tune, to file their opposition to the plaintiffs’ Motion for a Preliminary Injunction [ECF
No. 22], and the entire record herein, it is hereby
ORDERED that the Motion for an Extension of Time is GRANTED, nunc pro tunc; and
it is further
ORDERED that any reply in support of the plaintiffs’ Motion for a Preliminary Injunction

shall be due by 12:00 PM on May 15, 2025.

Date: May /2, 2025 "dos 6 Feta

Royce C. Lamberth
United States District Judge

